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CASE NO. JEFFERSON CIRCUIT COURT
` CIVIL DIVISION
LISA S. ENSEY, AS PARENT'AND STATUTORY iPLAINTIFF.S

GUARDIAN ON BEHALF OP D.E.,_ MINOR

KII\_/IBERLY HUN'I`,-AS LEGAL GUARDlAN ON BEHALF
OF J.T., MINOR

V.

SHELTHR GENE_RAL. INSURANCE COMPANY, DEF_ENDA_NTS
a Misso_uri Insu`r-anc_e Company_, qualified in Kentucky

Serve: Secretary of Sta'te,. Commonweaith of Ky.
`P.O. Box 718
,Frankfort, KY 40602

For further service to_:
Randa Rawlins, Process Agent
Shelter General In'surance Con`\pany
1817 West. Broadway
Coiumbia, MO 65218

SHELTER MUTUAL INSURANCE COMPANY,
a'Missouri` lnsurance Companyj, qualified in Kentucky

Serve':_' Sec_:retary.o_f State, .Connnonwea]th of-Ky.
P.O. Box 718
Frankfort, KY 40602

Fur further service to:
_Ran_da Rawlins, Proce-ss Agent
Shelter General Insurance-Company
1817 West. Broadway
Coiumbia, Mo 652_18

EXHIB|T

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COMPLAINT

COME NOW, Plail_ltiffs, LI_SA _ENS_EY, statutory guardian of D.E., Minor, and

`KIMBERLY HUNT, legal guardian of J.T., minor, (hereinaiter collectively re`i`e`zred to as

"‘Plaintiffs” , by and through their attorneys_, Jeffrey A. -Sexton and John W. Bymes_, hereby

complain and allege against Defendant, SH_ELTER INSURANCE COMPA_NY, a Missouri

Insurance Cor'npany qualified in Kentucky (hereinaher “Defendant”), as fo_llows:

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THE PARTIES

l. `Plaintif”t`s LISA S. ENSEY, Gnardian, and D.E., a minor,. are and at all relevant times

were residents of 532 ST. ANDREWS D_RIVE, VINE GROVE, KENTUCKY 40175.
Plaint`iff`s KIMBERLY H-UNT, Guardian, and J.T., a minor_, are and at all relevant times

Were residents of 8_305 DAVEMON DRIVE, LOUISVILLE, KY 40228.. L-ISA S.

'E`NSEY and K]MBERLY' H_UNT bring this action on behalf of said minors pursuant to

Kentueky Rule of Civil Procedure. 17.03(1).

. Dei`endant SHE'LTER GENERAL IN_SURANCE COMPANY (“Sh_elter General”) is and
- was at all times relevant hereto, Missouri lnsuranee Company,_ havingrits principal place

'oi` business at 1817 WEST BROADWAY`, COLUMBIA, MO 652} S? and qualified and

registered to conduct insurance underwriting and`business in the Cornmonwealth of

Kentueky.

. 'Def`endant SHELTER M_UTUAL INSURANCE COMPANY (Slielter Mut`uai) is and was

.at.all-times relevant heretq Missouri Insurance Company, having its principal place of
business at 1817 WEST' BRO`ADWAY, COLUMBIA, MO 65218, and qualified and
registered to conduct insurance underwriting and business in the Commonwealth of

.Kentucky

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JURISDICTION AND VENUE

 

`4. Plainti_ffs incorporate the preceding paragraphs of this Complaint as though said

paragraphs were fuily set forth at this point herein.

` . Venue is proper in this district because the underlying judgment (EXHIBITS l and 2

hereto) which is the subject'matt_er of this lawsuit was rendered on May 31, 2017, by a

jury properly seated in lefferson Circuit Court, Division Five (5), Case No. l$.-Cl-

‘ 00645 8_, Louisville, Jefi`erson Count_y, .Kentucky, and the subject insurance policy Was

issued by Defendants Shelter General and Shelter Mutuai (collectiv_ely “Shelter Insurance

Companies”_) in Kentucl<y to the underlying named insured, Mark Blankenship.

-. This is- a civil case'w'ith an amount in controversy exceeding five thousand dollars

($5_,000.00); therefore, jurisdiction and venue are-properly before this Court pursuant to

KRS 24A.12_0,'1`m‘er alia.

`GENERAL ALLEGATIONS

. Pl_'ain`tiffs incorporate the preceding paragraphs of this Com`plai_nt as though said
. paragraphs were fully set forth at this point herein-.

. (}n D`ecember 22, 20l 5_, civil Case No. 15-C1-00645.8 was filed in lei’ferson Circuit Court

against C'a_rr_ie. Blankenship, inter alia.-

. Shelter insurance Cornpanies by letter dated -December 7 , 2016 (EXHIBIT 3 hereto)

admitted on page 2 beneath__par_agraph 15 that Carrie Blankens_hip had coverage, subject
to `terrns, conditions and exclusions under 'a liomeowne_r’s Insura_nce Policy (H03 KYl)-,
1'6~XX-XXXXXXX'~`1.(“Poiicy”) associated with her home located at 163 Beeehnut Court.

where she lived with her hqu an'd, Mark Blankenship.

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Shelter denied coverage to Ca_rrie Blankenship under the Policy and refused to defend her
or_enter an appearance in the underlying action for the reasons set forth in EXHIBIT 3.
On May 31, 2017_ahn0st six months after Shelter refused to enter the case.-a jury-
awarded $2.5 million to D.E., minor, and S1.5 million to J.'l`., minor, against Carri`e
Blankensh`ip and the Judgment (EXHIBIT_ 4 hereto) was entered on

Thereafter Plaintiffs’ counsel made a demand upon Sheiter Insurance Companies under
the Policy for payment of the $4 million judgment on .luly 4, 2017, and again on August
9, 201 7. .Both times Shelter insurance Companies denied coverage and refused to pay.
PlaintiH`s file this action to collect $4 million from Shelter lnsurance Companies and the
statutory rate ofpro rata interest tolling at 12%.per annum.

By declining the opportunity'to defend Carrie Blankenship on D_ecember 7`, 2016 (eveu
with a reservation of rights)', the time has passed for Shelter l-nsurance Compa'nies to seek
_a bifurcation or to seek a declaration.of rights and/or deny coverage under the Policy.
Kentuclcy caselaw is quite clear`on the matter, specifically see Am-erica'n Cas. Co. of
Reczdz'ng, Pa. v. Shely, 234 S.W.Zd-?)U?) (1950_).

Shelter lnsu`rance§ Companies (see paragraph 3') :is- obligated to pay the $4 million
lud'gment claim under the terms of the policy.

Shelter Insurance Companies lacks a reasonable bas`is`in law-and fact for-denying the
claim because, inter alia, it failed to conduct a reasonable investigation based upon all
available information before refusing to pay the claim and-deny coverage on December 7,
20l6; and, again in July and August, 2'017, in violation 'oi` KRS 304.12-2_-30(4).

Shelter Insurance' Companies knew there was no reasonable basis in fact and law'for

denying the claim and acted with reckless disregard for Whether a claim existed because

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the surveillance video showing Carrie Blankenship’s covered negligence under the Policy
was referenced in the Complaint from which EXHIBlT 3 quoted so heavily; yet_, Sbelter
insurance Companies never bothered to watch the video because Plaintiffs’ counsel has
the Only copy in their possession and Was.never asked for the video by Shelter Insurance
Companies.

Shelter Insurance Cornpanies knew there was no reasonable-basis in fact and law for
denying the'cla_im and acted with reckless disregard for whether a claim existed because
the J`ury In`struction.s and Judgment only cover negligence (covered by the Policy) yet
Shelter Insurance Conipanies still denies coverage in direct defiance 'of the`language of
the _Jury`lnstructions and Ju_dgment (EXHlBITS 1 and 2 hereto}.

Shelter Ins_u`ranc`e Compa`nies’ motives are evil and driven by the oldest sin_greed.
Their actions are outrageous and recklessly indifferent to the rights of the 4 and S-year
old minors at the heart of this case abused of children by daycare workers and their
negligent supervisor, Carrie Blankenship.

Plaintiffs have both suffered emotional distress--.including but not limited to anger,
distrust and depression-»as a'resu_lt of Slrel`ter"s dastardly refusal to honor in good faith
the Policy coverage the Blankenships selected

Defendants Shelte_r Insurance Corrrpanies owePlaintiffs the following duties, among
others as contemplated by KRS 304.1`2-230: (a) -a_ duty to honor the Policy contract for
the entire policy duration; (b) a'duty to conduct a prompt, reasonable and diligent
investigation of the facts of the case'_to determine the validity cf the claims made by
Plaintiffs against Defendant Allstate; (c) a.duty to evaluate the Plaintiffs.’ claims fairly_;

{d) a duty to attempt in good faith to effectuate a` prompt, fair and equitable settlement of

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a claim where liability is reasonable clear; (e) a duty to act promptly and reasonably in
settling the claim; (l`) a duty not to reject a reasonable and fair offer of settlement (g) a
duty not to put insureds or third~party'beneticiaries through unnecessary litigation; (h) a
duty not to put insureds’ assets at risk; (i) a duty to refrain from actions that would injure
the Plaintiffs’ ability to obtain the benefits of the Pol'icy (insurance contract); and (j) a
duty of good'faith and fair deal.ing.

1`6. Upon`infonnation and belief, the Plaintiffs allege that Defendants Shelter lnsurance
Cornpanies breached their duties owed to P_laintiffs as contemplated by KRS 304._12-`230
by, among other things: _(a) failing to honor the Policy (insurance contraet); (b) failing to
conduct a` prompt, reasonable and diligent investigation of the claims made against their
insured, Cairie Blankenship; (c) failing .to. evaluate the claim(s) fairly; (d) failing to
tender the policy limits to settle the claims; (e) failing to attempt in good faith to
effectuate a prompt, fair and equitable settlement of the claim`(s); (i) not making any
reasonable settlement offers to offer the claim(s); (g) failing to accept reasonable and fair
offers-of settlement; (h) putting their insureds A('Pl_a_intiffs as third-party beneficiaries as
.ludgm`ent creditors herein) through'unnecessary litigation; (i) putting their i`nsureds’
personal assets-at ri`sk; and (j) failing to pay any reasonable portion of the Policy
coverage to Plaintiffs herein

1"_7. As a direct and approximate result of Sh'elt_er lnsuranc_€ Com_p.anies’ breaches of their
'duties'that they owed `to the _Plaintif_fs herein.as _third-party-bene{iciary ludgment
acreditors, Plaintiffs"have been deprived of the benefits to which they were entitled and for

which the Blankenships bargained in the insurance contra'ct-, and Plaintiffs were forced to

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incur expenses to obtain the benefits to which they Were otherwise entitled and Plaintiffs
have otherwise been damaged in amounts to be determined at trial.

18. Defendants’ actions hjerein_constitute bad faith insurance practices as contemplated b`y
KRS 304.12-230 among other legal causes of action as enumerated below.

19. .The Court should enter a declaratory judgment, that Defend`ant must pay the $4 million
Judgrnent plus interest_to 'Plaintiffs herein, in order to satisfy the damages sustained by
Plaintiffs in the underlying Iefferson Circuit Case No. lS-Cl-006458.

20. Plaintiffs have been required to engage the services of attorneys, and, acoord`ingly_, have
incurred -attomeys’ fees and costs to bring this action.

_F_IRST CAUSE OF AC'I`ION
(Breach of.Cont_ract)

21. P-laintitfs repeat and re-allege the allegations contained in the preceding paragraphs of
this Complai'nt as though said paragraphs were fully set forth herein

22. There i_s a valid and existing insurance agreement between Carrie Blankenship and M_ark
Blankenship and Defenda`nts and Piaintiffs are third-party beneficiaries thereunder.

23. Plaintift`s performed or were excused from performance under the agreement

24. Defendants breached the agreement by, inter alia, refusing-to properly compensate
Pla`intiffs.

25. Plai_ntiffs sustained damages in excess of the Po'licy limits as a result-ofDefendants’
breach of the agreement

.26. Plaintifi`s have been required to retain the services of an attorney to commence this action

and are entitled to attorney’s fees and costs

SECOND _CAUSE OF ACTION
`(Contrac_tual Breach of the 'lrn'plied Coyen_ant of Good F_aith and Fair'Dea_ling)

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27. Plaintiff`s repeat and re-alieg_e the allegations contained in the preceding paragraphs of
this Complaint as though said paragraphs were fully set forth herein

28. There is implied in every contract a covenant of good faith and fair d-ealing.

29. 'Mark Bla_nk_enship and Cam'e Blanken'ship and Defendants` entered into a valid and
existing insurance agreement and Plaintiffs are third-party beneficiaries thereunder

30. Defenda`nts owed Plaintiffs a duty of good faith and fair dealing.

31.`Defe_ndants breached'theirdut_y`of good faith -andmfairldealing hy, infer alia, refusing to
properly compensate Plaintiffs.

32. Plainti_ffs sustained damages in excess of the Po_licy limits as a result of Dei`en'dants’
breach of the implied covenant_of good faith and fair dealing.

33. Plaintiffs have been required to retain.the services of an attorney to commence this action
and are entitled to attorney"s fees and costs.

_ _ THIRD CAUSE OF ACTION _
(_Tortious' Breaeh of the Implied Covenan't of Good Faith and .Fair Deal-ing)

34. Plaintiffs repeat.and re~'allege the allegations contained in_ the preceding paragraphs 'o`f
this Complairit as though said paragraphs Were fully set forth herein

35'. There implied in every contract a covenant of good faith and fair dealing.

36. Marl< Bla`nkenship and Carrie Blankenship and Defendants-entered into a valid and
existing insurance agreement and Plaintiffs are third-party beneficiaries'thereunder.

37. `D`efend-ants owed Piaintiffs a duty of _ good faith and -fai_r dealing

38. .As-insure`r`s_, Defenda`nts owed.Plaintiffs a fiduciary-like duty and there Was 'a special

element of reliance by'the_ Biank_enshi_ps and Pla`intiffs as third-party beneficiaries

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39. Def_endant breached their duty of good faith and fair dealing by, inter affa, refusing
to properly compensate Plaintiffs for their injuries sustained in the underlying Jefferson
-Circuit Case No. lS-CI-006458.

40. Plai_ntiffs sustained damages i`r`l excess of the Policy limits as a` result of Defcndants’
breach ofthe implied covenant of good faith and fair dealing

41. Plaintifi`s are further entitled to punitive damages as a result `of Defendants’ breach of the
implied covenant of- good faith and fair"deal'ing.

42. Plaintit`fs have been required to retain the services ofan attorney to commence this action
and are entitled to attorney’s fees and costs.

FOURTH CAUSE OF ACTION
(Bad Faith in violation of KRS 304.12-230)

4`3. Plaint_iffs repeat and re~a`llege the allegations contained in the preceding paragraphs of
this C'ornplaint as though said paragraphs were fully set forth fherein.

44. ’l` he acts and omissions of _Defendants-as' complained of herein,_ and yet to_ he discovered
in this'-rnatter, constitute bad faith.

45. Plaintiffs sustained damages in excess of the Policy limits.as a result of Dei`endant’s. bad-
faith.-

46. Plainti_i`fs are timber entitled to punitive damages as a result of Defendants’ bad-faith

47. Plaintiffs have-been required to retain the services of an attorney to commence this action
and are entitled to attorney’s fees and costs

FIFTH CAUSE `()F AC.TIGN
(Unfair Trade Pra'ctices)

48. Plaintit`t"s repeat and re-allege 'the'allegations contained in the preceding paragraphs of

this -Complain't as though said paragraphs were fully set forth_her_ein.

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49. Defendant has engaged in unfair trade practices, including Defendants’ failure to properly
settle Plaintiffs’ claim.

'50. P-laintiffs sustained damages in excess of the Policy limits as a result ofDefe_ndants’
unfair trade practices

51. Plaintiffs are further entitled to-pu_nitive damages as a result of Defendants’ unfair trade
practices

52. .Plaintif’fs have been required to retain the services of an attorney to commence this action
and are entitled to attorney’s fees and costs

'S'IX'I`H CAUSE'OF ACTION _
(Intentional Infliction of Emotional Distress according to Indz`ana lawrence Co. v. Demetre,
2013-CA-000338-MR, 2015 WL 393041 (Ky. App'.-Jan. 30, 2015))

53._ Plai_ntiffs repeat and re-allege the allegations contained in the preceding paragraphs of
this Compla'int as though said paragraphs were fully set forth herein.

54. The intentional and reckless acts and omissions of Defen'dants as complained ofherein,
and yet to. be discovered in this'matter, constitute intentional and reckless infliction.of
emotional distress

55. Plaintiffs sustained damages in excess of the Policy limits in the form of severe emotional
distress as a result of Defendants’ intentional, outrageous and intolerable conduct which
offends general accepted standards of morality and decency_especially by a supposedly
trusted national insurance company taking premiums in return for promises

56. Plaintift`s are further entitled to punitive damages as a result of'Defendants’ intentional
infliction of emotional distress

57. Plaintit`fs have been required to retain the services cf an_attomey _to_' commence this action

and are entitled to attorney’s fees and .co'sts,

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SEVENTH CAUSE OF ACTION

 

(Negligent.lrltliction of Emotional Distress according to Indiana Insurance Co.- v. De_m'etre,.
2013-CA-000338-MR, 2015 WL 393041 (Ky. App. Jan. 30, 2015))`

5 8. fPl_aintift`s repeat and r'e-allege the allegations contained in the preceding paragraphs of
this Complaint as though said paragraphs were fully set forth herein-.

5_9.. The negligent acts and omissions of Det`endants as complained of herein, and yet to-be
discovered in this matter, constitute negligent infliction 'o't` emotional distress

6_0`. Pl_aintift`s sustained damages in excess ofthe Policy limits in the form of severe emotional
distress as a result of Defendants’ negligent', yet outrageous and intolerable conduct
Which offends general accepted standards off morality and decency-~espec_ially by a
Suppose.dly trusted national insurance company taking premiums in return for promises

-61. Plaintit`fs are further entitled to punitive damages as a result of`Defendants’ negligent
infliction of emotional distress

62. Plaintift`s have been required to retain the services ot"an attorney to commence this action
and are entitled to attorney"s fees and costs.

WHEREFO_RE, P]aintiffs. pray for judgment against the above-named Defendants. as

follows:

1. For general damages in aniarnoun't in excess of the Policy limits;

2. 'For special damages in an amount of $4 million;

3. For punitive damages in an amount to be determined at trial;

4. For reasonable attorney’s_ fees and .C`OSt.S 40f SUit;

5. For interest on the Judgme'n`t of 34 million at the statutory rate of 12% in effect at the

time of the entry of J_u'dgment_; and

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F_or` such other and further relief as the Cour-t deems just and proper.

`DATED this 15th day of `September, 201'?.
`JEFFREY A. SEXTON

JOHN W. BYRNES
`Attoz*neys for_ Plaintiffs

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325 W§ Main St_., -Ste. 150
Louis\_fille, KY 49202
(502) 893-3'_?'84 [Oche)
(800) .524-3139 (Fax)

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CASE NO. 15-`CI-0`064:58_ `JEFFER_SON CIRCUIT COURT
'DIVISION F.IVE (5)
JUDGE MARY SHAW
.LISA S.. ENSEY, er a!. ,PLAIN'I'!FFS
V.
KIDZ UNWER.SITY, INC., er al._ DEFENDANT_S
JUDGMENT
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The above-styled action having come on for trial before this _Conrt and a jury, and
'tlie issues having been duly tried, and the jury having duly rendered its' verdict and finding
.that Carrie `Blanken_ship failed 10 comply
_l . Wi'rh her dirty as .Dir_ectcr ofK'iclz University, I'nc._, by not supervising the students,
and said failure tof comply was a substantial factor in causing injury to both minors
.IT'arld DE
`2. Witli her duty to supervise and train the staf`i` of Kidz- University; Inc., in her
capacity as Dire_cte`r, and said failure was a substantial facior in causing injury to
both miners .JT and .DE
3._ With her duty as Directer of Kidz University, lnc.,_ to adhere to and ccinpiy with all

rules and regulations of the Ccmmcnwealt_h cf Kentuclcy concerning child abuse

manning Judge: Hon. A, c. McKA\' elmoer (530220}

prevcniien, training and reporting efacruai and/or suspected chiid abuse,_ and said
failure was a substantial fa_ctor'in causing injury _t_o.both miners JT and DE

_ 515 _ '*7'
WHEREFORE, IT' IS ORD ERED that the Pfai`n'riif, minor D.E., recover from the

Dei`endant,_ Carrie Blankcn_ship, the total sum cf $i.$ rrriilion, with interest thereon -at

the,rate` oi"_l_'?_.% per annum; and,

ExH : annum af_nrm¢`ic.'e

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_ . . . -. m ll'i*tl’ 'Y
IT IS FURTHER ORDERED that the Pla';ntiff, minor J.'l`., recover from the
Defendant, Carrie B_lankcnship_, the total sum cf $2.5 million, with interest thereon at the

rate cf 12% per annum.

This is a final and appealable judgment and there is no just cause or reason for

 

 

awarding .mdge: Hon. A. c. nrch cnauvln.`(sa'ozao)

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EXH : 000002 of 000002

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,¢£ NO. 15-Cl-006458

`LiSA S. ENSEY, et af.

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olvlsioN F\vE (5)
JuooE MAR¥ sHAw

PLAlNT_lFFS_

DEFEN DANTS

JURY lNSTRUCTlONS

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Nine _or more of you must agree in order to make any determination

required by these instructions The nine or more who agree on one, howeve`r,

need not be the same jurors who agree on others |f‘a|l twelve of you agree on

the answers to any of the deierminailons to which you are required to respond,

the F-or_eperson, whom you shall eleet,_can sign for you. Each response on which

you'are not unanimous must be signed by the nine or more of you who agree

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travis L_. Ni¢_r§s:ri__:n_erse§ irene clerk
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_ Pré!`sidin`g Judga: H=ON. A._C. MCKAY CHAUVIN (639220)

EXH : 00|;|061 of 003014

Case 3:17-cv-00642-TBR Document 1-1 Filed 10/18/17 Page 16 of 34 Page|D #: 21

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iNSTRUCTION NO. 1`

'lt was the duty of Carr`ie B!ankenship, as the Director of Kiciz. `University
daycare charged with the supervision of its students to exercise toward David
and Jalon that degree of care and skii| which is expected of a reasonany
competent and ordinariiy prudent daycare' Director white supervising students of

iike age as David and Jaion white acting under like or simi!ar circumstances

Presitling Ju:lge: HON. A'. C. MCKAY CHALN|N {630221]}

`1?-Ci-004895- 09!1512017 David L. Nich_o|so'n,- defferson Ci`rc_u_i_t `Clerjk

EXH : 0000{]2 of-UBG()’M

Case 3:17-cv-00642-TBR Document 1-1 Filed 10/18/17 Page 17 of 34 Page|D #: 22

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QUEST|ON NG. 1

 

Do you believe from the evidence that Carrie B_|ankensh_ip failed to comply
with this duty listed in instruction No. 1 and that such failure was a substantial

factor in causing injury to D.avid Ensey?

YES: \/

"NO:

 

 

 

 

 

 

 

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-Pr‘es'iding '..iudge:` HO'N. A..C. MCKA¥ CHAUV|N (630220]'

EXH : 00013€|3 of 000014'

Case 3:17-cv-00642-TBR Document 1-1 Filed 10/18/17 Page 18 of 34 Page|D #: 23

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QUEST|ON NO. 1A

 

Do you believe from the evidence that Cairie Biankenship failed to comply
with this duty in instruction N_o. 1 and that such failure was a substantial factor in

causing injury to dalon Thompson.?

vess t/

NO:

_...m........__

:FOREPERSON

 

 

 

 

 

 

 

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Fr`esidin`g Judgé: HON. A. C. MCKAYCHALN|N (630220}

EXH :'000004 of 800014

Case 3:17-cv-00642-TBR Document 1-1 Filed 10/18/17 Page 19 of 34 Page|D #: 24

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iNSTRUCTiON NO. 2
it was the duty of Carrie Biankens`hip, as the Director of Kidz University
daycare charged with'the supervision and training of its stafi, including but not
limited to Nikoletta Nu'nl'ey, to exercise toward David _and Jaion that degree of
care end skill which is expected of a reasonably competent and ordinarily

prudent daycare DIrecto'r while supervising students of like age as David and

.Jaion while acting under like or similar circumstances

17~0|-0`04895 `09!1`51201? David L. Nichol`SOn, '.¥`effei‘son` Cfr.c`ulf.Clerk

presiding .iuage:_iror~r. A. c. MCKAY cHAuvtN (saozzn)

Ex`H : notions or annum

Case 3:17-cv-00642-TBR Document 1-1 Filed 10/18/17 Page 20 of 34 Page|D #: 25

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QUESTION NO. 2

 

Do you believe from the evidence that Carrie Bianl<enshlp failed to comply

with this duty in instruction No. 2 and that such failure was a substantial factor in

causing injury to David Ensey?

YEs: \/

-NO:'

Z%

FOREPERSON

 

 

 

 

 

 

 

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Presidlng Judge:_ HQN. A. C.-MCKAY CHAUV¥N (630220}-

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Case 3:17-cv-00642-TBR Document 1-1 Filed 10/18/17 Page 21 of 34 Page|D #: 26

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QUESTION NO. zA
D,o you believe from the evidence that Carrie Blan"kenship failed to comply

with this duty in instruction No. 2 and that such failure was a substantial factor in

causing injury to Jalon Tho_mpson?

YES: if

NO;

'-.-.......___

   

PERsoN

 

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Presiding .iudge:.HON'..A. C. MCKAY CHAUVIN (630228}

EXH`:'OODUG? of 00£[01'4

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lNSTRUCTlON NO. 3

lt was the duty of Carrie Biankenship, as the Director of Kidz University

daycare charged with the adherence to and _compii'ance'with the rules and
regulations'cohcerning child abuse prevention, training and reporting of
suspected and/or actual chiid abuse of the Commonweaith of Kent_ucky’s Cabinet
for Heaith and tramin Serv'ices’ OHice of the inspector Generai's D_ivision of
Regulated Chiid "Care._ to exercise toward David and Jalon that degree of care
and skill which is expected cfa reasonably competent and ordinarily prudent
daycare Direc_tor while supervising and training staff includingl but not limited to,

Nikoietta i`\`l_uniey, and students of like age David and Jaicn white acting under like

_ or similar circumstances

Presiding ..iudge: HON.-A. C.- iiiiCKAY CHAUVlN (830220)

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EXH : 000003-0?000€|1¢

Case 3:17-cv-00642-TBR Document 1-1 Filed 10/18/17 Page 23 of 34 Page|D #: 28

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guesnoNNo.s

Do you believe from the evidence that Carrie Bl_ankenship failed to comply
with this duty in` instruction No. 3 and that such failure was a substantial factor in

causing injury to David Ense__y?`

YES: l/

NO:

     

FOREP nscN

 

 

 

 

 

 

 

 

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EXH- : 800009 of 900014

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'QUEST|ON NO. 3A
Dc you believe from the evidence that Carrie Blankensh_ip failed to comply

with this duty in instruction No. 3 and that such failure was a substantial factor in

causing injury Jalon Thompson?

VES: _L;

NO:

 

 

 

 

 

 

 

 

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Presrding undge:»HoN. A._'c. McKAY cHAu\nN (_sanz`z_n)

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Case 3:17-cv-00642-TBR Document 1-1 Filed 10/18/17 Page 25 of 34 Page|D #: 30

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__leTRucTioN No. 4

 

lf you answered “Yes" to Quest_ion No. 1, Question No.. 2, and/or Question
`No 3, you have found for David Ensey. You will now determine from the evidence
what `su`rn or sums of money will fairly and reasonably compensate Da_vid_ _En_s_ey,
for such of the following damages you believe from the evidence,_ he sustained

by reason of Carrie Biakenship’s breach of duty:

(a) Neoessary and reasonable future medical expenses reasonably certain
to be incurred in the future:

s ¢£)@QOOU

_(b} Mental and physical pain and suffering he has endured or is
reasonably certain to endure: `

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(e) Any permanent impairment incurred:

s .QO-F)j ©OO

ToTAL: slt § rlaf”i}>r».

How many occurrences of bodily injury to David Ense`y do you'fmd based

upon Carr'ie Blankenship’s breach of _d_uty?

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Presiding dudge.: HON. ,A. C. MCKAY CH`AUVIN (630220}

EXH : 00{][|1210f 0000-14

Case 3:17-cv-00642-TBR Document 1-1 Filed 10/18/17 Page 27 of 34 Page|D #: 32

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ms'_rnucriou No. 4a

 

if you answered “Yes" to Question No. '1A, Question.#2A and/or Question
No. 3`A, you have found for Jalo_n Thom_p'son. You will now determine from the
evidence-what sum or sums of money will fairly and reasonably compensate
_Jalon Thompso_n, for such of the following damages you beiieve, from the

_evidenc_e. he sustained by reason of Carrie Blanl<enship’s breach of duty:

(a) _Necessary and reasonable future medical expenses reasonably certain
to be incurred in the future:

s l/.ino,rrio

(b) l‘vlerital and physical pain and suffering he has endured or is
reasonably certain to endure:

s conoco
(c_) Any permanent impairment incurred:'

TOTAL; s 2 i§_Wl_

How many occurrences of bodily injury to Jalon Thompson do you find
based upon Carn`e Blankensh_ip’_s breach of duty?

é _ .

'Filec¥ 11~0¥-80489`_5 09I15i261? David L. Nicholson, '.Iefferson Circuit Cle`rk

_Pres'iding-Judge: Ho`N. A. c. mcKAv chauvin rsaczzo)

EXH : 000013 of 000014

Case 3:17-cv-00642-TBR Document 1-1 Filed 10/18/17 Page 28 of 34 Page|D #: 33

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Case 3:17-cv-00642-TBR Document 1-1

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JEFFERY M. GUILLORY
ssmo__n erch'non ATroRNEY

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TELEPHONE `NUMBER': (573) 214 - 4687
FACSIM!LE‘NUMBBR: {573) 446 - 7315

Litigaliun_ Azi€ilnt: lindsey Coivin
T:l:p'hn!m NL| mbd|{ ffi'n 211-nm

Email Addm: LColvio®ho|i¢¢inm'.-mce,mm
Ms. Canic`Blankenship'
163 Bccc_hnut Col.lr_t
-Shcphcrdsville, Kentucky 40165-8096
RE: Nar_ned lnsured: Mark Blankcnship
Ci'aimam: I.isa Ensr:y-, individually and as parent of D.E., a minor,
Kimbcrly Hun_t, individually add as legal guardian of.l.T., a
minor '
Claim Numbcr: HOl'7_14_594

Dcar Ms. Blankenship:

On Octobor 3, 2016, Shelter received notice of a lawsuit that L‘isa aney, individually and

as parent of D£'., a minor, and Kimbe'rly Hunt, individually and as legal guardian of .l`.'i`.a a
'minor, Eled against you in the lafferson 'Circ'uit Couxt in Kcntucky. As you know,. in this laWSIIiL
Ms'. Ensey and Ms. Hun_t claim that you, while operating in your capacity of Dircctor of Kiclz
University, Iuc,, abused minors 'D._E.. and.J.T., who were ohildren-tha`t_atteoded daycare atKid.z
Univ_c.rsity where you worked as director attire _i;ime-. The lawth references allegations between
May 18, 2015 and May 21', ZOiS and was filed with thc Court on Dccembcr 22, 20l5. lt is
Shelter‘s understanding that you have been operating as a pro se defendant since that time,
having filed responsive pleadings on our own behalf and having appeared to give a deposition
"without counsel. Based on the information presently known, we write to inform you that we
must deny coverage for the claims against you in this lawsuit.

-'l’he First Arncnded Cornplaiut includes the following allegations against you;

l... `_You physicaliy, violently abuscd.`l)_.E. and l.'l`., minors (Corn`plein't_ '§-7_);
2. .By virtue of. pleading guilty to two (2) counts ofviolaf_ion of KRS 508.030, you
admitted intentionally or wantonly causing physical injury to D.E. and l.T., minors

jrcompiam yi;o);

3. You wcrc'the.Director of.Kidz-University child care ccutcr`thc entire time D.E. and

lr.'l`. attended (Complaint 1']23;

4. You had been tormenting, tornn~ing'and physically end mentally abusing and
assaulting and bancring D.E. and .i.l`. for much of their youug, short lives (Complaini

lll€);

5. Y-ou, while employed by Kidz.U`niversity,' luisA struck D.E. eleven '(l l`-) times on the
body, stemmed J.T. hcadtirst- into a door frame, dragged one or both boys from a
room by the 'ann, pushed D`.E, backward violently then pushed him even harder as he
stumbled causing him to fall to the floor as you lowered over him (Compl_ainl 'HZO_);

6. You admitted t_o two (2} charges of intentionally or wantonly causing physical injury
t_o` D`.E.-`and J.'I`., minors (Complaint §23);

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Presrd'mg Judge:- rioN. A..c.- McKAY cHAuvi‘N (63`02201'

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Case 3:17-cv-00642-TBR Document 1-1 Filed 10/18/17 Page 30 of 34 Page|D #: 35

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Cat'rie Blaukenship 1011 2f201 ;7 07:2_3:33 All.'i
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Page 2

7. Your conduct`was either intentional or reckless (Cornplaint 134);

You physically and violently beat multiple'4~or S»year old children (Cornplaint 113 5);

9. Your acts and_'omissions were negligent rcckless, grossly negligent and done with

malicc, oppression,_and wanton disregard for the safety Of D.E. and J._T,, and were a
substantial factor in causing D.E."s and l.-'l‘.’s serious and extreme pbys`ical, emotionai`
_ and psychological injuries and damages {C_otnplalnt 1140);

IO. Your acts and omissions in failing`to provide adequate and timely warnings to
prevent such abuse, assault and battery as D.E.- and J.T. suffered from occurring on
the premises of the daye_ar_e was negligent reckless grossly negligent and done with
§zgl)rce,_oppression, and wanton disregard for the safety 'ot`D.E. and .l.'l`. (Cornplaint

ll I. You failed to properly-train and supervise Nikotctta Nunley (Complaint -1[51);

12. You knew or though the exercise of reasonable care should have-known that
‘I';_i_;<;)`letto Nunley was mentally and physically abusing D.E. and J,'_l'. (Cornplaint

l3. Your acts-oft`ailing to hire and properly train and supervise dayca;re personnel,
n'lat:tagers1 directors, assistants supervisors cooks, and any other agent acting on your
behalf to prevent'abuse, assault and battery as D.E. and }.T. suffered from occurring
on the premises ofthc daycare was ncgligent, rcckless, grossly negligent and done
with_rnalice, .oppression,- and wanton disregard for the safety of D`.E. and J.T.

(Cornplaint 1153)`;

14. You detained and falsely imprisoned D.E.- and J.T., respectively, in one room for 20
minutes and against a wall for four minutes by conduct involving willful and
unprovoked aggression (Conrplaiut 1[56);

15. Your conduct constituted gross negligencel oppres`sion, li'aud, malice or common law
bad fait;h§l with willful and wanton disregard for:thelife, health and rights of.thc

`P-laintiffs and was‘sueh an extreme departure front ordinary care as to entitle the
Plaintit'fs to punitive damages (Complaint 1{63).

.m,
.

According to Shclter’$ records you bad a Horneowners I"nsuranee Policy (HO3 K¥l`), 16~
XX-XXXXXXX»1 (“P_ol'i'cy") associated with your horne located at 163 Beechnu_t Court in force
when these allegations occurred Your Policy provides coverage-subject to its tenns,- conditions
and exclusions lf you need another-copy of your Policy, please let us know.

"lhis Po_li_cy States:

HOMEOWNERS INSURANCE P»€)LI'C.Y
'SPECIAL 'COVERA_GE FGRMS

DEFINTTIONS USED THROUGI-I{)UT 'l`_HI_S POLICY

l. A_e'ciden`t means an action _or oceurreuc_e,- or a series oi` actions or oceurrcnces, that:

(a) .Started abruptly;

(b) :During the policy period; and

(c) Dire'ctly resulted in bodily injury o_r property damage
fit-an action or occurrence that started abruptly continues over a period of time and
ultimately'results in bodily injury -or property damage that cannot be definitely
attributed to any one specific action-or occuncnce, all such._b_odily injury or property
damage iS, under this policy delimition, only one accident ll` a series of abrupt actions or

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EX`H :'-OBUOUZ-Gf 806006'

Case 3:17-cv-00642-TBR Document 1-1 Filed 10/18/17 Page 31 of 34 Page|D #: 36

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Page 3

occurrences ultimately results in bodily injury or property damage that cannot be
definitely attributed to any one specitie action or occurrence, all such actions and
occurrences under this policy clefmition, constitute only one accident

Acci_c'ieot` does not mean:

(a) An action or occurrence that any insured intended to result in bodily injury, or
property 'd_ama_ge, oi"any type;

(_b) An_ action or occurrence that is intended by any insured, if a reasonable
individual would expect`it to result in bodily injury, or property damage, of any type;

or
gc}_ An intentional-action by any person that does not immediately result in hodin
injury or property damage but ultimately does resultin such because of its repetition or
the repetition of similar actions._

il

7 5. Bus_i.ness means any activity for which the person engaged in that activity
receives compensation of any kind, or reasonably expects to receive
e_ornpensation_ofeny kind. [ ]'

21. fnsure'd means:
(a) You;
l i

22. lnsu'red premises means:
(a) Tlreresid'ence premises;

ll

36. Punitive damages means a monetary award imposed to punish_a wrongdoer and
to deter others from similar conduct [ ]

52. You means any-person listed as a named insured in the _I)eclarations and,i_fti_tat
person is an -indi'vidual_, his _o'r her spouse

GEN'ERAL AGREEMENTS_ APPLI_CABLE `1`0 EN’I`IRE POL!CY

`l. WI~LAT TO DO IN CASE CF BODILY INJURY OR PR_O.PERTY DAMA`GE
ln the event oi"`_an accident`covered under this policy, tile insured must promptly take all
ofthe following actions:
(e) Notif_y user our agent as soon as possible The notice must give:
(t) 'Your name and policy nuznl)er',
(2} The time, place 'and circumstances of the aceident; and
(3) T_he names and addresses of ali injured individuals and witnesses
(e) Cooperate with us, and assist ns in any matter relating`_to a claim
(c) Send us all correspondence and all legal papers that relate to any elai!n, made by
anyon€, against user against the person seeking such coverage

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searles n _ PEdeNAL LxAsrLIrY AND MEoIcA_L 'PAYMENTs-PROTECTION

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manning quge; Hon. A._c_. MoK'A~'r cHA'u'le (ssnzzo}

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Case 3:17-cv-00642-TBR Document 1-1 Filed 10/18/17 Page 32 of 34 Page|D #: 37

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COVE_RAGE E - PERSONA.L LI_ABILITY

ADDI.TIONAL DEFINIATION USED iN CGVER.AGB E

In Coverage E:

_Damages means the money an insured is iegal_ly obligated to pay another person for bodily
injury, or`proper_ty damage, caused by an accident But damages does not include punitive
damages [ ].

lNSURING AGRI:`.EMEZNT
Subject to the limits of our liability for this coverage stated in this section, we will pay damages
on behalf of an insured.

'EXCLUS!ONS

We do not cover:

2. Daniages arising out of the`rendering, or failing to render, professional services

3_ Darnages arising out of business activity if that activity oaused, or contributed to cause,
the damages
l ] _ _

4. Dam'ages arising out of the condition of any premises owned, rented, or controlled by,

an insured other than the insured premises [ ] _

5- I)amages arising out of bodily injury or property damage that any insured intended to
cause-

6_. Dama'ge_s arising out of- bodiiy injury or property damage that a reasonable individual
wouid expect to result from the intentional acts ofany'insured.

[1

.17. Dam'_a_ges arising out of any activity of any'ins`ured that wouid_ constitute a crime under
the laws of the state in which such activity occurred, whether or not such insured is
actually charged with a crime for that aetiv.ity.

COV-ERAGE F - MEDICAL PAYMENTS T() OTHERS
iNSUR_ING AGREEMENT
.S__ubjeet to_th'e iim'it of our liab_iiity stated in this-section, we will pay the reasonable eharges for
necessary goods and services incurred within three years after the date ofu covered injury
ADDITIONAL DEFINIIONS USED IN_`TH[S COVBRAGE
_1.- Covered injury means a bodily in jurys caused by an accident that oecur_ned:
(a) While the injured individual was ones insured premises with the permission of the
'insured_, or
(b)_While the injured individual was-elsewhere if the bodily injury:
_(l )- Resuit'ed from the condition of the insured premises;
(2) Was caused by an insured;

ii

'EXCL.USIONS
We do not cover charges related to;

3. Bodily injury arising out ofthe rendering or failing to render professional servicesl

'4. Bodily injury arising out of the business of any insured.

16. Bodily injury arising out of any premises owned, rented or controlled_'by any insured
that is not an insured premises..[ ] _

`_7. Bodil_y injury that any insured intended to cause

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8. Bndily injury that a reasonable individual would expect to result from the intentional
acts of any insured

14`. Bodlly injury arising out of any activity of any insured that Would constitute a crime
under the laws of the state 111 which such activity occurred whether or not such insured
is actually charged with a crime for that activity

I~`rom the information we have reviewed, it appears that the allegations contained in the
lawsuit do not constitute an ‘-‘accident” as defined by the Po_licy which would qualify t`o_r
coverage under the Personal liability portion ofthe l’o_licy-. Evcn if the allegations constituted
an accident, they are excluded from liability coverage as being one or more of'the following (a)
damages arising out of the rendering_,¢ or failing to render, professional §scrvices; {b`) damages
arising out of- bu's`incss activity if that activity causcd, or contributed to cause,, the damages; {c)
damages arising out of the condition of any premises owned, rented, or controlled by, an insured
other than the insured prcmisc‘s; (d) damages arising out of bodily tnjury or property damage that
any insured intended to cause; (e) damages arising out of bodily' mjury or property damage that a
reasonable individual would expect to result from the intentional acts of any insured and (i)
damages arising out ofany activity of any insured that would constitute a crime under the laws
of the state in which such activity occurred_, whetheror not such insured iS actually Charg@d Wifh
a crime for that activity.

Additionally, from the information we have reviewed, it appears that the allegations
contained' 111 the lawsuit do not constitute a_ “covered 1nju1y” as defined by the Po_licy Wh_iclr
would qualrfy for coverage under the Mcdical Payments to Others portion of the Policy Even- if
the allegations constituted a covered injury, they arc excluded from medical payments coverage
as being one or more of the following: (a) bodily injury arising out of the rendering1 or failing"to
render, professional scrvices; (b) bodily injury arising out of business of any insured; (e) bodily
injury arising out of any premises owncd, rented, or controlled by,_ any insured that is not an
insured prcrnises; (d) bodily injury that any insured intended to cause; (e) bodily injury that a
reasonable individual would expect to result from the intentional acts of any insurcd, and (i)
bodily injury arising out of any activity of any insured that Would constitute a crime under the
laws ofthe state in which such activity occurred, whether"or not such insured is actually-charged
with a crime for that activity

Puru'tive damach are also excluded from personal liability and medical payment
coverage

Finally, the Pol_icy required that you provide She_l_ter with (a) prompt notice of the claims
being made against you, (b) cooperation and assistance in matters related to the claims and (e) all
correspondence and legal papers related to the claims. flowech Sh`elter was not informed of the
claims being made against you until over nine (9) months after the lawsuit was l'rled, and after
you had Eled responsive pleadings on your own behalf and had given a deposition without legal
representation

For the above reasons,' S'hel_te_r is denying coveragg: arising out of or related to the claims
against you in this lawsuit

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presiding JUdge: HON. A. C.'MCKAY `CHAUVIN [630220]~

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Shelter reserves each and every right it has under the Policy and under applicable law,
including .xhc right to deny any claim for other reasons, and fhc right to deny any claim based
u_pon.any'additional information that may come to our attention in the futurc.

If you or anyone you_know has information which would establish or suggest that our

position in this letter is erroneous in any respch please contact me as soon as possiblc. Any
additional information provided will yeccive prompt and carequ consideration

Slncerely,

fsffcry M Guillor`y
Senior litigation Altorney

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